Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 1 of 17 PageID #: 169



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 XING AI JIN, GINA CHIN, and YINGCAI CHI,

                                    Plaintiffs,                 REPORT AND RECOMMENDATION

         -against-                                              18-CV-1007 (WFK) (ST)

 PARK AVENUE STEM CELL, INC., OKURA
 HEALTH, LLC, YOKO SINGER, and JOEL
 SINGER,

                                     Defendants.
 -----------------------------------------------------------X
 TISCIONE, United States Magistrate Judge:

         This is a case brought pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§

 201, et seq., and the New York Labor Law (“NYLL”), N.Y. Lab. Law §§ 650, et seq. The

 Plaintiffs’ Renewed Motion for Conditional Certification of Collective Action has been referred

 to the Court by the Honorable William F. Kuntz, II for a Report and Recommendation.

         For the reasons set forth below, the Court recommends that Plaintiffs’ Motion be granted

 in part and denied in part.

                                               BACKGROUND

         Plaintiffs filed the Complaint in this action on February 15, 2018, see ECF No. 1, and an

 Amended Complaint (“Am. Compl.”) on May 14, 2018, see ECF No. 10. Plaintiffs allege that

 Defendants unlawfully denied them (i) minimum wages under the FLSA and NYLL, (ii) overtime

 wages under the FLSA and NYLL, (iii) “spread of hours” wages under “New York State labor

 regulations,” (iv) wage notices under NYLL § 195-1(a), and (v) “pay stub information,” i.e. wage

 statements, under NYLL § 195-1(d). Am. Compl. ¶¶ 61–109.

         Defendants Dr. Joel Singer (“Dr. Singer”) and Yoko Singer (“Ms. Singer”) are husband

 and wife. See Defendants’ Opposition to Renewed Motion for Conditional Certification of

                                                        -1-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 2 of 17 PageID #: 170



 Collective Action (“Opp’n”) at 2, ECF No. 25 (referring to Dr. Singer as Ms. Singer’s husband).

 Both of them operate their own healthcare businesses: Dr. Singer operates Park Avenue Stem Cell,

 Inc., and Ms. Singer operates Okura Health, LLC. Am. Compl. ¶ 55. Plaintiffs allege that they

 were each employed as live-in maids by Defendants at various points between the months of April

 and December 2017. Am. Compl. ¶¶ 7, 12, 15, 58.

        Plaintiffs previously filed a Motion for Conditional Certification of Collective Action. See

 ECF No. 13. The District Court referred that Motion to this Court. See Order, ECF No. 14. At a

 hearing held on October 24, 2018, the Court denied Plaintiffs’ Motion without prejudice to renew

 because the declarations filed in support of the Motion did not provide the Court with any basis to

 determine that there were other employees of Defendants who were “similarly situated” to

 Plaintiffs. See Minute Order, ECF No. 21.

        Plaintiffs filed their Renewed Motion for Conditional Certification of Collective Action

 (hereinafter “Renewed Motion”), ECF No. 23, on November 12, 2018. The District Court referred

 the Renewed Motion to this Court. Order, ECF No. 27. The Renewed Motion contains newly

 executed declaration from two of the named Plaintiffs. See Declaration of Ying Ai Jin (“Jin Decl.”)

 ECF No. 23-1 at 1–3; 1 Declaration of Yingcai Chi (“Chi Decl.”), ECF No. 23-1 at 4–6.

        In her new declaration, Plaintiff Jin avers that she performed duties primarily including

 cleaning and preparing food for Defendants, and that on certain occasions she assisted Dr. Singer

 and Ms. Singer with a move and with handing out flyers. Jin Decl. ¶¶ 4–7. She avers that she

 typically worked more than 12 hours per day for six to seven days per week but was never paid

 “properly” for her work, including never being paid overtime wages. Id. ¶ 8–10. She avers that



        1
          The Plaintiff referred to as “Xing Ai Jin” in the Amended Complaint has indicated that
 her name is in fact “Ying Ai Jin.” Jin Decl. ¶ 1. However, Plaintiffs have yet to move to amend
 the case caption.
                                                -2-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 3 of 17 PageID #: 171



 one co-worker told her that she was paid her wages by Dr. Singer, but that Ms. Singer later accused

 her of stealing property and forced her to pay back all of her wages. Id. ¶ 11. She avers that she

 “personally know[s] that there are many other people defendants hired to do the same or similar

 job as [she] did but [who] did not get paid by defendants,” including one woman whom she

 encouraged to join this action but who was unwilling to do so because of her immigration status.

 Id. ¶ 12. She avers that Ms. Singer repeatedly sought “domestic help” through ads in a Korean

 language newspaper and through a temp agency, hired domestic workers for a short period of time,

 but then fired them or refused to pay them through fraud or coercion. Id.

        Plaintiff Chi avers that her primary duties as an employee of Defendants were “receiving

 sales phone calls,” cleaning, and preparing food. Chi Decl. ¶ 4. She avers that she typically worked

 more than 12 hours per day for six to seven days per week, but that she was not paid “properly”

 for her work, including not receiving overtime wages. Id. ¶¶ 5–8. She describes several other

 women who were allegedly subjected to unlawful employment practices by Defendants: (i) a

 Korean woman with the surname Yum, who worked only one day before she was fired and did not

 receive any pay; (ii) a Hispanic woman in her mid-20s who worked for 3 months and was not paid

 at all; and (iii) a Korean woman with the surname Hwang who came from Hawaii and worked for

 Defendants, but was not paid at all. Id. ¶¶ 9–11. Like Plaintiff Jin, she avers that Ms. Singer hired

 domestic workers through Korean language newspaper ads and temp agencies, and avers that she

 saw that Ms. Singer “had lists of temp agency she used to fill the position [sic].” Id. ¶ 12. She avers

 that she “talked with other women” who worked for defendants but were fired without pay after

 being accused of breaking or stealing things. Id. ¶ 12.




                                                  -3-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 4 of 17 PageID #: 172



                                            DISCUSSION

        Plaintiffs request that the District Court conditionally certify a collective action consisting

 of “all employees of [Defendants] who worked as [a] maid, kitchen worker, cleaning worker,

 janitor[], reception[ist], office clerk, nurse[,] administrator or [under] any similar job title at any

 time between February 16, 2012, and the present.” Proposed Notice of Collective Action (“Prop.

 Notice”) at 1, ECF No. 23-2. Plaintiffs also seek accompanying relief including: (i) approving

 Plaintiffs’ Proposed Notice, ECF No. 23-2, and Proposed Consent Forms (“Prop. Consent”), ECF

 No. 23-3; (ii) directing Defendants to provide contact information for similarly situated employees,

 contact information for employment agencies they have used, and “telephone carrier information”;

 and (iii) directing Defendants to refrain from seeking releases of claims from putative collective

 members. Renewed Motion at 4.

        A. Conditional Certification of Collective Action

            i. Legal Standard

        Under the FLSA, a plaintiff may seek certification to proceed as a collective action, thus

 allowing other “similarly situated” employees the opportunity to join the litigation. 29 U.S.C. §

 216(b); see also Cohen v. Gerson Lehrman Grp., Inc., 686 F. Supp. 2d 317, 326 (S.D.N.Y. 2010).

 “Although they are not required to do so by [the] FLSA, district courts ‘have discretion, in

 appropriate cases, to implement [§ 216(b)] . . . by facilitating notice to potential plaintiffs’ of the

 pendency of the action and of their opportunity to opt-in as represented plaintiffs.” Myers v. Hertz

 Corp., 624 F.3d 537, 554 (2d Cir. 2010) (quoting Hoffmann–La Roche, Inc. v. Sperling, 493 U.S.

 165, 169 (1989)).

        Courts within this Circuit determine whether to certify a collective action in two stages.

 See Lynch v. United Servs. Auto. Ass’n, 491 F. Supp. 2d 357, 367–68 (S.D.N.Y. 2007); see also



                                                  -4-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 5 of 17 PageID #: 173



 Myers, 624 F.3d at 554–55 (“[T]he district courts of this Circuit appear to have coalesced around

 a two-step method, a method which, while again not required by the terms of FLSA or the Supreme

 Court’s cases, we think is sensible.” (footnote omitted)). At the first stage, the Court examines the

 plaintiffs’ pleadings and affidavits to determine whether they are sufficiently “similarly situated”

 to the potential opt-in plaintiffs. If the Court finds that they are, the Court may conditionally certify

 the case as a collective action and order the parties to issue notice to potential opt-in plaintiffs,

 providing a timeframe in which they must respond if they wish to opt in to the action. Lynch, 491

 F. Supp. 2d at 368. The second stage is conducted after discovery is completed, at which time the

 Court is better positioned to “undertake[] a more stringent factual determination as to whether

 members of the [collective action] are, in fact, similarly situated.” Id.

         Plaintiffs’ burden in this first stage is minimal: plaintiffs “need only make ‘a modest factual

 showing sufficient to demonstrate that they and potential plaintiffs together were victims of a

 common policy or plan that violated the law.’” Doucoure v. Matlyn Food, Inc., 554 F. Supp. 2d

 369, 372 (E.D.N.Y. 2008) (quoting Hoffman v. Sbarro, 982 F. Supp. 249, 261 (S.D.N.Y. 1997)).

 This standard does not require that the named plaintiffs and the opt-in plaintiffs be identical in all

 respects, but the “[p]laintiff[s] must at least provide evidence that the proposed class members are

 similarly situated, in that they are the ‘victims of a common policy or plan that violates the law.’”

 McGlone v. Contract Callers, Inc., 867 F. Supp. 2d 438, 443 (S.D.N.Y. 2012) (citation omitted).

 To that end, plaintiffs may rely upon their “own pleadings, affidavits, declarations, or the affidavits

 and declarations of other potential class members.” Jeong Woo Kim v. 511 E. 5th Street, LLC, 985

 F. Supp. 2d 439, 445 (S.D.N.Y. 2013) (internal quotation marks and citation omitted).

         At the preliminary certification stage, all inferences are drawn in favor of the plaintiffs. Id.

 at 446. Because “the court does not resolve factual disputes, decide substantive issues going to the



                                                   -5-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 6 of 17 PageID #: 174



 ultimate merits, or make credibility determinations” at this early juncture, a defendant cannot

 defeat a conditional certification by presenting conflicting factual assertions. Lynch, 491 F. Supp.

 2d at 368. “The ‘modest factual showing’ cannot be satisfied simply by ‘unsupported

 assertions[,]’” but “the standard of proof should still remain ‘low . . . because the purpose of this

 first stage is merely to determine whether ‘similarly situated’ plaintiffs do in fact exist.” Zaldivar

 v. JMJ Caterers, Inc., 166 F. Supp. 3d 310, 318 (E.D.N.Y. 2016) (emphasis omitted) (quoting

 Meyers, 624 F.3d at 555). At the second stage of certification following the completion of

 discovery, “[t]he action may be ‘de-certified’ if the record reveals that [the putative collective

 members] are not [similarly situated], and the opt-in plaintiffs’ claims may be dismissed without

 prejudice.” Myers, 624 F.3d at 555 (citation omitted).

            ii. Analysis

        The Court finds that Plaintiffs have met their modest burden to demonstrate the existence

 of other similarly situated maids, kitchen workers, and cleaning workers employed by Defendants.

        Defendants do not seem to dispute the propriety of conditional certification against Ms.

 Singer or Okura Health as to these classes of employees, but they do argue that Plaintiffs have not

 shown that any other categories of employees should be included in the collective. Opp’n at 2

 (“[T]he only evidence presented of any ‘similarly situated’ employees are for domestic workers

 hired by Yoko Singer.”); see also Answer to Amended Complaint ¶ 2, ECF No. 11 (“Defendants

 admit that Plaintiffs worked for Yoko Singer and Okura Health LLC.”). Defendants also

 vigorously oppose certification of a collective against Dr. Singer and Park Avenue Stem Cell,

 arguing that Plaintiffs have presented nothing other than vague and conclusory allegations to

 evince that either of these Defendants employed any of the Plaintiffs. Opp’n at 3. In particular,

 Defendants voice their concern that allowing a collective action to proceed against Park Avenue



                                                  -6-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 7 of 17 PageID #: 175



 Stem Cell or Dr. Singer “would require Dr. Singer’s medical practice to disclose employee

 information, despite any nexus between the individual Plaintiffs and that business.” Id. at 2.

        The Court agrees with Defendants that Plaintiffs have not shown the existence of any

 similarly situated employees besides maids, kitchen workers, and cleaning workers, despite their

 request that the District Court include employees who worked in the positions of “janitor[],

 reception[ist], office clerk, nurse and administrator,” Prop. Notice at 1, in the collective. First, the

 Plaintiffs themselves clearly worked as maids. The section of the Amended Complaint captioned

 “FLSA 216(b) Collective Action Allegations” asserts that “[a]ll of the named Plaintiffs held the

 same position, namely live-in maid, and cooked and cleaned the defendants’ clinic and their

 residence.” Am. Compl. ¶ 58. In their declarations submitted in support of collective certification,

 Plaintiffs Jin and Chi both explain that their job duties consisted virtually entirely of cooking and

 cleaning. 2 Jin Decl. ¶ 4; Chi Decl. ¶ 4. Furthermore, Plaintiffs have not shown that there are any

 other employees of Defendants besides domestic workers who may have been subjected to an

 unlawful common policy or plan. Plaintiffs allege that Defendants recruited domestic workers by

 running classified ads in the “House Keeper” section of the New York Korea Daily newspaper,

 through which they sought “[l]ive-in maid[s]” who are “good at organizing and cooking,” Am.

 Compl. ¶¶ 56–57, and that Ms. Singer hired domestic workers through temp agencies, Jin Decl. ¶



        2
           The Court notes that Plaintiff Chi does aver that one of her primary duties “was receiving
 sales phone calls.” Chi Decl. ¶ 4. In the remainder of her declaration and in all of the other
 documents Plaintiffs have submitted, however, her duties and the other Plaintiffs’ duties are
 defined as consisting strictly of cooking and cleaning. This includes the declaration Plaintiff Chi
 previously executed in support of Plaintiffs’ first motion for collective certification. See ECF No.
 13-1 at 5 ¶ 5 (“[M]y primary duty was cleaning house and office, preparing food for visitors who
 visited their office to attend seminars; I performed manual labor for Defendants.”). Without any
 further support and in light of the uniformly contradictory evidence throughout the rest of the
 record, the lone clause in Plaintiff Chi’s declaration stating that she “was receiving sales phone
 calls” does not affect the Court’s finding that the only similarly situated employees to Plaintiffs
 are other domestic workers.
                                                   -7-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 8 of 17 PageID #: 176



 12; Chi Decl. ¶ 12. Plaintiffs provide accounts of several other employees who were not paid

 lawfully owed wages, and all of them appear to be other domestic workers. Plaintiffs repeatedly

 allege that Ms. Singer accused domestic workers of stealing as a pretext to recoup their wages, but

 do not allege that she did so to any other category of employee. Based on this evidence, Plaintiffs’

 request to certify employees other than domestic workers is groundless. Plaintiffs have only shown

 a basis for the certification of a collective consisting of any qualifying employee who worked as a

 “maid, kitchen worker, [or] cleaning worker,” id. 3

        As to Defendants’ contention that the collective action should not be certified against Park

 Avenue Stem Cell or Dr. Singer, however, the Court disagrees. While Plaintiffs’ submissions

 predominantly focus on the actions of Ms. Singer, it is not true that they focus exclusively on them.

 First and most notably, Plaintiffs claim that the location they worked at serves as the office for

 both Park Avenue Stem Cell, Dr. Singer’s business, and Okura Health, Ms. Singer’s business. See

 Jin Decl. ¶ 3 (averring that Plaintiff Jin “worked at and for Park Avenue Stem Cell, Inc and Okura

 Health LLC at 341 East 51st Street, New York, NY 10022”); Chi Decl. ¶ 3 (averring same).

 Plaintiff Chi also directly avers that she worked for both Dr. Singer and Ms. Singer at this address.

 Chi Decl. ¶ 3. In addition, Plaintiff Jin avers that on weekends she cleaned a separate house in

 New Jersey belonging to Dr. Singer, and that Dr. Singer paid her co-worker wages for two months

 of work before Ms. Singer forced her to return the money. Jin Decl. ¶¶ 5, 11. These allegations




        3
          Though “maid, kitchen worker, [and] cleaning worker” are somewhat nebulous terms, the
 Court defines them to mean any employee of Defendants whose job duties consist of, in large part,
 cooking and/or cleaning. Regardless of the job title given to such employees by Defendants (if
 any), employees who performed similar duties should be allowed to join the collective action, and
 their contact information should be disclosed to Plaintiffs consistent with this report and
 recommendation. See Cano v. Four M Food Corp., No. 08-CV-3005 (JFB) (AKT), 2009 WL
 5710143, at *9 (E.D.N.Y. Feb. 3, 2009) (finding that employees with differing job titles could join
 collective action so long as “their duties were similar in nature”).
                                                 -8-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 9 of 17 PageID #: 177



 seem to indicate that Dr. Singer had at least some connection to the named Plaintiffs and potential

 opt-in plaintiffs. At this early stage, without the benefit of a complete record and drawing all

 reasonable inferences in favor of Plaintiffs, these facts sufficiently suggest that each of the four

 Defendants acted as the employers of the named Plaintiffs and putative collective members.

        The Court notes Defendants’ concern that Park Avenue Stem Cell will be forced to disclose

 the information of employees who are clearly not eligible to join this action. That concern should

 be allayed, however, given that the Court only recommends certification of a collective consisting

 of maids, kitchen workers, and cleaning workers, and Defendants assert that Park Avenue Stem

 Cell “does not employ any non-medical staff.” Opp’n at 2.

        B.      Proposed Notice and Consent Forms

        Having determined that a collective action should be certified, the Court turns to Plaintiffs’

 Proposed Notice and Consent Forms. The District Court retains the discretion, under the FLSA, to

 “implement § 216(b) . . . by facilitating notice to potential plaintiffs of the pendency of the action

 and of their opportunity to opt-in as represented plaintiffs.” Myers, 624 F.3d at 554 (brackets and

 internal quotation marks omitted). “Upon authorizing the distribution of notice to potential opt-in

 plaintiffs, the district court maintains broad discretion over the form and content of the notice.”

 Diaz v. New York Paving Inc., 340 F. Supp. 3d 372, 386 (S.D.N.Y. 2018) (internal quotation marks

 and citations omitted).

        The Court recommends approving Plaintiffs’ Proposed Notice and Consent Forms, albeit

 with several modifications, which the Court explains in turn below.

        i.      Eligible Occupations

        As the Court has discussed, the only employees eligible to join Plaintiffs’ collective action

 are maids, kitchen workers, and cleaning workers. Plaintiffs’ Proposed Notice, however, informs



                                                  -9-
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 10 of 17 PageID #: 178



 the putative opt-in plaintiffs that they are eligible to join if they “worked as maid, kitchen worker,

 cleaning worker, janitor[], reception[ist], office clerk, nurse and administrator.” Prop. Notice at 1,

 2. In accordance with the Court’s recommended restriction of the employees eligible to join the

 collective as described above, the Court recommends ordering that this list of jobs be changed to

 “maid, kitchen worker, or cleaning worker.”

        In an apparent typographical error, the Proposed Notice at one point states that plaintiffs

 may be eligible to join the action if he or she “work[s] or worked as Kitchen Helper, Cashier,

 Stocker, Bagger, Receiving, Pricing, Office Clerk and General Manager.” Id. at 3. This list of titles

 should also be changed to “maid, kitchen worker, or cleaning worker.”

        ii.     Eligible Dates of Employment

        The Court must also determine during what time period potential opt-in plaintiffs can have

 worked for Defendants in order to receive notice of the collective action. Under the FLSA, the

 maximum statute of limitations is three years, but under the NYLL, it is six years. Luna v. Gon

 Way Constr., Inc., No. 16-CV-1411 (ARR) (VMS), 2017 WL 835321, at *9 (E.D.N.Y. Feb. 14,

 2017), adopted by 2017 WL 835174 (E.D.N.Y. Mar. 2, 2017). Courts in the Second Circuit have

 allowed notice of the collective certification of an action under the FLSA to be sent to employees

 who worked for defendants within the past three years or within the past six years, depending on

 the facts of the case. See Trinidad v. Pret A Manger (USA) Ltd., 962 F. Supp. 2d 545, 563

 (S.D.N.Y. 2013) (collecting cases).

        Here, Plaintiffs request that the Court allow any employee who worked for Defendants “for

 the last three years” to receive notice of the collective action. Renewed Motion at 4. However,

 Plaintiffs’ Proposed Notice and Consent Forms advise the potential opt-in employees that they are

 eligible to join the FLSA putative collective action if they worked for Defendants at any time



                                                 - 10 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 11 of 17 PageID #: 179



 between February 16, 2012, and the present. Prop. Notice at 1; Prop. Consent at 1. 4 The original

 Complaint in this action was filed on February 15, 2018. See ECF No. 1 at 1. Thus, accounting for

 the leap year in 2016, February 16, 2012 is six years prior to the date this action was initiated.

        The Court recommends restricting Plaintiffs’ collective to a period of three years. Leaving

 aside that Plaintiffs did not request that notice be sent to employees who worked for defendants

 within the past six years in the Renewed Motion, the Proposed Notice and Consent Form are

 inaccurate insofar as they assert that opt-in plaintiffs who did not work for Defendants within the

 past three years would be eligible to join the FLSA collective. If a court allows notice to be

 distributed to employees who worked for the defendant more than three years ago, it is only for

 the purpose of giving them notice that they may have claims under the NYLL; they are not able to

 join the FLSA collective. See Sanchez v. El Rancho Sports Bar Corp., No. 13-CV-5119 (RA),

 2014 WL 1998236, at *4 (S.D.N.Y. May 13, 2014) (“[F]ormer employees who have only state-

 law claims are not eligible to join [an FLSA] collective action[.]”). Moreover, where notice is sent

 to employees with potential NYLL claims who are outside of the FLSA’s three-year statute of

 limitations, the notice must clearly explain the relevant distinctions between the two causes of

 action so as to avoid confusing potential plaintiffs. See, e.g., Benavides v. Serenity Spa NY Inc.,

 166 F. Supp. 3d 474, 485–86 (S.D.N.Y. 2016). Plaintiffs’ Proposed Notice and Consent Forms,

 however, contain no such explanation. Neither document even mentions the NYLL at any point.

        As such, Plaintiffs’ Proposed Notice and Consent Forms would likely create serious

 confusion among recipients. Courts frequently decline to distribute notices to plaintiffs outside of

 the FLSA’s three-year limitations period on the basis that potential NYLL plaintiffs would be



        4
           In an apparent typographical error, the Proposed Notice also states at one point that
 employees are eligible to join as a “party plaintiff” if they were employed by Defendants since
 July 1, 2012. Prop. Notice at 3.
                                                 - 11 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 12 of 17 PageID #: 180



 misled into believing that they would be eligible to opt in to the FLSA collective. See Djurdjevich

 v. Flat Rater Movers, Ltd., No. 17-CV-261 (AJN), 2019 WL 125888, at *1 (S.D.N.Y. Jan. 7, 2019)

 (collecting cases); see also Hamadou v. Hess Corp., 915 F. Supp. 2d 651, 668 (S.D.N.Y. 2013)

 (“It would be confusing to employees who are ineligible for the FLSA opt-in class to receive the

 opt-in notice, which does not relate to any state law claims.”). This Court likewise recommends

 that notice in this case be sent only to employees who worked for Defendants between February

 16, 2015, three years prior to the filing of the original Complaint, and the present. 5 The dates on

 pages 1 and 3 of the Proposed Notice and on page 1 of the Proposed Consent Form should

 accordingly be changed to February 16, 2015.

        iii.    Preservation of Opt-In Plaintiffs’ Right to Choose Their Own Attorney

        Plaintiffs who may opt in to this collective action are not required to be represented by

 Plaintiffs’ attorney. They retain the absolute right to choose their own. Notice of a FLSA collective

 action should make this right clear to potential Plaintiffs. See Serebryakov v. Golden Touch Transp.

 of NY, Inc., 181 F. Supp. 3d 169, 177 (E.D.N.Y. 2016); see also, generally, Arciello v. Cty. of



        5
            Notice is normally provided to workers employed within three years of the date the notice
 itself is sent. See 29 U.S.C. § 255(a). However, “because equitable tolling issues often arise for
 prospective plaintiffs, courts frequently permit notice to be keyed to the three-year period prior to
 the filing of the complaint, with the understanding that challenges to the timeliness of individual
 plaintiffs’ actions will be entertained at a later date.” Fernandez v. Sharp Mgmt. Corp., No. 16-
 CV-0551 (JGK) (SN), 2016 WL 5940918, at *6 (S.D.N.Y. Oct. 13, 2016). The Court recommends
 this course to most efficiently deal with potential equitable tolling issues.
          The Court also notes that the Amended Complaint, which was filed on May 14, 2018, is
 the currently operative complaint. However, it is well established that an amended complaint may
 relate back, for statute of limitations purposes, to the date the original complaint was filed if the
 claims in the amended complaint arose out of the same “general fact situation alleged in the
 original pleading.” Leber v. Citigroup 401(K) Plan Inv. Comm., 129 F. Supp. 3d 4, 17 (S.D.N.Y.
 2015) (internal quotation marks and citations omitted). Here, the Amended Complaint is highly
 similar to the original Complaint. The Court thus recommends finding that the Amended
 Complaint relates back to the original Complaint, which allows notice to be sent to employees who
 worked for Defendants within three years prior to the filing of the original Complaint on February
 15, 2018.
                                                 - 12 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 13 of 17 PageID #: 181



 Nassau, No. 16-CV-3974 (ADS) (SIL), 2017 WL 4998074, at *7 (E.D.N.Y. Oct. 30, 2017)

 (“[W]here the notice states that potential plaintiffs may select their own attorney, . . . there is only

 a minimal risk that opt-in plaintiffs will be discouraged from seeking their own counsel.”) (internal

 quotation marks and citations omitted). Advising potential opt-in plaintiffs of this right is

 particularly important where the consent forms are to be sent to plaintiffs’ counsel rather than the

 Clerk of Court, as is the case here, see Prop. Notice at 4.

         As written, the Proposed Notice does not make this right sufficiently clear. It states that

 Plaintiffs’ attorney “will represent you if you decide to join this suit . . . .” Id. This shall be changed

 to “is available to represent you if you decide to join this suit . . . .” Immediately after this sentence,

 the Notice shall also state, “If you decide to join this lawsuit, you may retain counsel of your

 choosing, or you may represent yourself.” See Castillo v. Perfume Worldwide Inc., No. 17-CV-

 2972 (JS) (AKT), 2018 WL 1581975, at *14 (E.D.N.Y. Mar. 30, 2018).

         iv.       Miscellaneous Corrections

         Besides the issues the Court has mentioned, there are certain typographical errors in the

 Proposed Notice and Consent Form. The Proposed Consent Form captions the instant action as

 pending “in the United States District Court for the North District of Illinois, Eastern Division.”

 Prop. Consent at 1. Plaintiffs shall correct this before distributing the forms to potential opt-in

 plaintiffs. The case caption on the Proposed Consent Form also lists the first Plaintiff’s name as

 “Ying Ai Jin” rather than “Xing Ai Jin.” Id. Regardless of the correct spelling of her name,

 Plaintiffs’ Amended Complaint spells her first name “Xing.” Plaintiffs shall either revise the case

 caption of their Complaint or distribute the notice and consent forms with her name spelled “Xing”

 in the caption.




                                                   - 13 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 14 of 17 PageID #: 182



        There are several other typographical errors and grammatical mistakes in Plaintiffs’

 proposed notice and consent forms. Plaintiffs may wish to correct these errors, without diverging

 from the substance of the text that the Court has recommended herein.

        v.      Certificates of Translation

        Plaintiffs’ Proposed Notice and Consent Forms contain Korean and Spanish translations of

 the English version. Defendants object to these translations because they are not accompanied by

 certificates of translation. Opp’n at 3. The Court agrees with Defendants. Before distributing

 foreign language translations of the Proposed Notice and Consent Forms, Plaintiffs shall provide

 certificates of translation executed by persons competent in both English and the relevant language

 verifying that the foreign language version is an accurate translation of the English version. The

 translations must be made, and the certificates of translation executed, after Plaintiffs have revised

 the Proposed Notice and Consent Forms in accordance with the Court’s direction herein.

        vi.     Time for Opting in

        The Proposed Notice does not address the timeframe within which potential Plaintiffs must

 return the signed consent form to Plaintiffs’ counsel. See Prop. Notice at 4 (“In order for you to

 participate as a plaintiff in this case, the fully completed Notice of Consent to Become a Party

 Plaintiff (yellow form) must be received by the Plaintiff’s attorneys no later than [blank space].”).

        “Courts in this Circuit routinely restrict the opt-in period to 60 days.” Sharma v. Burberry

 Ltd., 52 F. Supp. 3d 443, 465 (E.D.N.Y. 2014) (collecting cases). Before Plaintiffs mail the notice,

 they shall fill in the blank space on page 4 of the Proposed Notice, cited above, with the date that

 falls 60 days after the date they will mail the notices and consent forms.




                                                 - 14 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 15 of 17 PageID #: 183



        C.      Other Relief

        Plaintiffs request various other related forms of relief. See Renewed Motion at 4. The least

 controversial is their request that Defendants be ordered to produce similarly situated employees’

 contact information. “Courts within the Second Circuit typically grant this type of request when

 granting a motion for conditional certification of an FLSA collective action.” Cruz v. Lyn-Rog

 Inc., 754 F. Supp. 2d 521, 526 (E.D.N.Y. 2010) (collecting cases). The Court recommends

 directing Defendants to provide to Plaintiffs, within ten days of the District Court’s order, the

 names, job titles, addresses, telephone numbers, and e-mail addresses of employees who worked

 as maids, kitchen workers, or cleaning workers since February 16, 2015.

        Plaintiffs also make more unusual requests for discovery of information. First, Plaintiffs

 request that Defendants provide the contact information for any employment agencies they may

 have used. Renewed Motion at 4. The Court is unaware of precedent for such an order. Although

 Defendants are expected to exercise means available to them to obtain the contact information of

 their current and former employees, Plaintiffs have not provided a sufficient basis for taking

 discovery from nonparty employment agencies. The Court recommends denying this request.

        The same goes for Plaintiffs’ request that Defendants provide “telephone carrier

 information, including cellular and landline, so that plaintiffs may subpoena.” Id. It is unclear what

 exactly Plaintiffs are seeking, but to the extent that they seek to take discovery against telephone

 carriers, they have shown no grounds for doing so. The Court recommends denying this request.

        Finally, Plaintiffs request that the District Court direct Defendants “to refrain from seeking

 releases or waivers of claims from the putative class members.” Id. It may indeed be unlawful for

 a defendant to obtain a release or waiver of an employee’s FLSA or NYLL claim without prior

 judicial authorization. See Lujan v. Cabana Mgmt., Inc., No. 10-CV-755 (ILG) (RLM), 2011 WL



                                                 - 15 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 16 of 17 PageID #: 184



 3235628, at *2 (E.D.N.Y. July 27, 2011). At the same time, however, courts are not required to

 issue an order, ex ante, specifically enjoining defendants from doing so. Id. at *3 (“Case law

 demands that trial courts exercise ‘caution’ in delineating such restraints, to ensure that they are

 ‘justified by a likelihood of serious abuses.’”) (quoting Gulf Oil Co. v. Bernard, 452 U.S. 89, 104

 (1981)). Plaintiffs have not made any showing that such an injunction is merited, and the Court

 does not recommend issuing one.

                                           CONCLUSION

         For the reasons set forth above, the Court recommends that the District Court:

 (i)     Conditionally certify a collective action consisting of maids, kitchen workers, and cleaning

         workers who have been employed by any of the Defendants;

 (ii)    Direct Defendants to produce, within ten days of the District Court’s order, the names, job

         titles, addresses, telephone numbers, and e-mail addresses of employees who worked in the

         above referenced positions between February 16, 2015 and the present;

 (iii)   Authorize Plaintiffs to distribute the Proposed Notice and Consent Forms, subject to the

         modifications discussed herein, to potential opt-in Plaintiffs; and

 (iv)    Deny Plaintiffs’ other requests for relief.

                   OBJECTIONS TO THIS REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b)(2) of the Federal Rules of Civil

 Procedure, the parties shall have fourteen (14) days from service of this Report and

 Recommendation to file written objections. Failure to file timely objections shall constitute a

 waiver of those objections both in the District Court and on later appeal to the United States Court

 of Appeals. See Marcella v. Capital Dist. Physicians’ Health Plan, Inc., 293 F.3d 42, 46 (2d Cir.

 2002); Small v. Sec’y of Health & Human Servs., 892 F.2d 15, 16 (2d Cir. 1989); see also Thomas



                                                  - 16 -
Case 1:18-cv-01007-WFK-ST Document 30 Filed 08/29/19 Page 17 of 17 PageID #: 185



 v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed. 2d 435 (1985). Responses to any objections shall

 be due fourteen (14) days from service of the objection. See Fed. R. Civ. P. 72(b)(2).



 SO ORDERED.

                                                                    /s/
                                                             Steven L. Tiscione
                                                             United States Magistrate Judge
                                                             Eastern District of New York

 Dated: Brooklyn, New York
        August 29, 2019




                                                - 17 -
